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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


 CHRISTOPHER SEAMAN and ELIZABETH
 ALLISON LYONS, individually and on behalf of
 C.S., a minor, et al.,
                                                    No. 3:22-cv-6-NKM
                              Plaintiffs,

                       v.

 THE COMMONWEALTH OF VIRGINIA, et al.,

                              Defendants.


 DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT AND
  RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY RE-
           STRAINING ORDER AND PRELIMINARY INJUNCTION


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                                       INTRODUCTION

        Under federal law, students with disabilities who need accommodations to participate in

public education should notify their schools and work together with their teachers and school of-

ficials to develop an individualized plan to meet their needs. That is not what happened in this

case. Instead of requesting accommodations from their schools, Plaintiffs sued the Common-

wealth and state officials. Plaintiffs assert that, in the Americans with Disabilities Act (ADA) and

Rehabilitation Act, Congress has mandated that all Virginia children must wear masks at school

indefinitely in order to reduce Plaintiffs’ risks of contracting COVID-19. This position is incor-

rect.

        Most fundamentally, Plaintiffs lack standing to press these claims because the order they

seek—an injunction against state officials “enforcing” an executive order and statute—would not

lead to the relief they want: universal student masking mandates. Plaintiffs argue that an injunc-

tion against the Defendants will confer on local school boards the “discretion” to impose local

mask mandates. But the Centers for Disease Control (CDC) no longer recommends universal stu-

dent mask mandates in the vast majority of Virginia’s schools. Case counts across the Common-

wealth and the country are plummeting. And vaccines and other effective mitigation measures

other than universal masking mandates are widely available. In light of these facts, it is exceed-

ingly unlikely that school boards would re-impose universal student masking mandates if they

had the option to do so.

        Plaintiffs’ claims also fail because their preferred accommodation of universal student

mask mandates would do little to reduce their risk, while harming other children. There is mount-

ing evidence that student mask mandates are largely ineffective at reducing COVID-19 transmis-

sion, including because students often wear poor-quality cloth masks that are improperly fitted.

At the same time, student mask mandates cause significant harm to children’s academic and


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social development. They impede communication, interfere with reading and language acquisi-

tion, and weaken social bonds. Some children—including some children with disabilities—can-

not see, breathe, or communicate adequately while wearing masks, or have sensory issues that

make them unable to tolerate masks. Parents should be able to decide whether wearing a mask in

school is detrimental to their child’s well-being and ability to learn. The ADA and Rehabilitation

Act simply do not mandate accommodations that interfere with the rights of other students in this

way.

       Even if universal mask mandates were an effective mitigation measure, the ADA and Re-

habilitation Act require only that some reasonable accommodation be made, not the particular

accommodation that a plaintiff prefers. Here, there are a host of alternative accommodations that

Plaintiffs’ schools might be able to provide in the absence of universal student masking. For in-

stance, schools could provide Plaintiffs with high-quality N95 or KN95 masks, which protect the

wearer regardless of whether others are masked; improve ventilation in Plaintiffs’ classrooms;

require masks for teachers and staff when in proximity to Plaintiffs; change seat or classroom as-

signments to physically distance unmasked students from Plaintiffs; or provide remote learning

options. But Plaintiffs shortchanged the administrative process that could have accommodated

their needs and instead came directly to federal court to challenge an executive order and statute

that have no effect on any of these mitigation strategies. Their claims fail for that reason alone.

       The pandemic has presented many painful challenges for parents, especially for parents

of medically vulnerable children. Defendants are committed to ensuring that all Virginia children

have access to a free and appropriate public education. But imposing indefinite universal student

mask mandates under the ADA and Rehabilitation Act is not the answer. Plaintiffs’ claims lack

any limiting principle and could lead to indefinite mask mandates in all places of public




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accommodation, notwithstanding that the CDC recommends against universal masking for the

vast majority of Americans and that evidence demonstrates that such mandates are ineffective

and harmful. Plaintiffs’ motion for a temporary restraining order and preliminary injunction

should be denied, and Defendants’ motion to dismiss should be granted.

                                               BACKGROUND

I.      Governor Northam imposed a universal masking mandate on all Virginia schools in
        the spring of 2021

        Although COVID-19 generally presents a low risk of severe illness in children, govern-

mental responses to the pandemic have been extremely disruptive to children’s lives. In March

2020, to reduce the spread of COVID-19, former Virginia Governor Ralph Northam invoked his

emergency authority to close every school in the Commonwealth for the rest of that academic

year. February 23, 2022 Affidavit of Dr. Colin Greene, Acting State Health Comm’r ¶ 4, Ex. 3,

ECF No. 44 (Greene Aff.).

        In June 2020, Governor Northam announced that schools in Virginia would reopen for in-

person instruction for the 2020–2021 academic year. 1 Despite this announcement, many Virginia

public schools did not provide full-time in-person instruction for much of the academic year. 2

Over the course of the year, it became increasingly clear that “remote learning” and “hybrid

learning” were poor substitutes for in-person instruction for most students, causing significant

learning loss and risking long-term developmental harm. 3 Mounting data also demonstrated that



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           Jackie DeFusco & Amelia Heymann, Northam: Virginia Schools Will Reopen for the 2020-2021 School
Year, WRIC (Jun. 9, 2020), https://tinyurl.com/yyws8ayf.
         2
           See Va. Dep’t of Educ., 2020–2021 Operating Status: Virginia’s Return to School Instructional Schedules
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           E.g., Jorge V. Verlenden et al., Association of Children’s Mode of School Instruction with Child and Par-
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vey: Learning Loss is Global—and Significant, McKinsey & Co. (Mar. 1, 2021), https://tinyurl.com/ytsuknt3.


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COVID-19 transmission in schools is low, and that children generally are at very low risk of se-

vere illness due to COVID-19. Greene Aff. ¶¶ 8, 12.

        In March 2021, the General Assembly passed a statute that required schools to offer “in-

person instruction to each student enrolled in the local school division in a public elementary and

secondary school,” while allowing schools to provide remote instruction to individual students at

their parents’ request. 2021 Acts ch. 456 (Spec. Sess. I) (S.B. 1303), § 2. In May 2021, Governor

Northam issued another emergency order imposing a universal mask mandate for children in K–

12 schools. Executive Order 79 (2021), February 28, 2022 Declaration of Andrew N. Ferguson,

Ex. G, ECF No. 45 (Ferguson Decl.).

II.     Mounting evidence demonstrates that universal mask mandates are ineffective
        mitigation measures that impose significant costs on children

        Since that time, the pandemic, scientific evidence regarding mitigation measures, and the

availability of other mitigation measures have changed significantly. The evidence now shows

that student mask mandates “provid[e] only questionable benefit toward reducing the transmis-

sion of COVID-19” in K–12 schools. Greene Aff. ¶ 19. “During the Omicron outbreak, urban re-

gions in Virginia with more restrictive masking policies and practices have experienced transmis-

sion rates similar to, or greater than, the transmission rates of rural regions with less restrictive

mask policies and practices.” Greene Aff. ¶ 16. A number of studies have been conducted on stu-

dent mask mandates and have not found that such mandates have any significant effect on reduc-

ing COVID-19 transmission. Greene Aff. Ex. 36 (concluding that “[w]e do not find any correla-

tions [of transmission rates] with mask mandates”); id. ¶¶ 17, 19, Exs. 27, 48, 54.

        The ineffectiveness of student mask mandates may be due in part to the serious practical

difficulties in masking schoolchildren. As the Virginia Department of Health recently found,

“many children use cloth masks that become dirty and are poor fitting, . . . wear masks



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incorrectly, and . . . have increased difficulty with proper or sustained mask wearing.” Greene

Aff. ¶ 12, Ex. 49. Children also wear masks intermittently; among other things, they “do not

wear masks in school while eating meals, playing sports, and engaging in other activities where

masking is not feasible.” Greene Aff. ¶ 18; see Barnett Aff., Ferguson Decl., Ex. A ¶ 10. Under

these circumstances, masks “provide reduced or no benefit” for preventing COVID-19 transmis-

sion. Greene Aff. ¶ 12.

       At the same time, increasing evidence demonstrates that student mask mandates are

harmful to children’s academic and social development. “Children may have difficulty hearing,

talking, perceiving emotion, or otherwise communicating, and making social connections when

wearing masks.” Greene Aff. ¶ 14; Ex. 27 (observing that 80 percent of surveyed students re-

ported that mask-wearing made communication more difficult; 55 percent reported that it made

learning more difficult); see id. Exs. 14, 28–34; Ferguson Decl., Ex. A ¶ 8–9; Doniger Aff., Fer-

guson Decl., Ex. B ¶ 9; Yescavage Aff., Ferguson Decl., Ex. C ¶ 11. In addition, “mask-wearing

can be detrimental to speech and language development,” especially for younger children who

are learning to speak and read. Greene Aff. ¶ 14, Exs. 28, 31; Ferguson Decl., Ex. A ¶ 9. Masks

can also cause discomfort and skin irritation, and lead to fungal and other infections. Greene Aff.

¶ 14, Ex. 39 at 560 (finding “[h]igh rates of fungal contamination” on cloth face masks); Fergu-

son Decl., Ex. B ¶ 10–11; Ferguson Decl., Ex. C ¶ 10.

       “Wearing a mask can be particularly detrimental to children with certain disabilities or

health conditions.” Greene Aff. ¶ 15; see also First Am. Compl. (FAC) ¶ 157 (alleging that

“[b]ecause of her disability,” one Plaintiff “is unable to wear a mask”). For example, “children

with asthma or other respiratory impairments may have trouble breathing in masks.” Greene Aff.

¶ 15, Ex. 35. Wearing a face mask can “also exacerbate anxiety or claustrophobia in children,




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sometimes leading to respiratory distress or hyperventilation.” Greene Aff. ¶ 15, Ex. 23; Fergu-

son Decl., Ex. B ¶ 8; Ferguson Decl., Ex. C ¶ 12. Children with glasses may have trouble seeing

while wearing a mask. Greene Aff. ¶ 15, Ex. 47; Ferguson Decl., Ex. A ¶ 8. “Children who are

autistic may have sensory sensitivities that make it extremely difficult for them to tolerate mask-

wearing.” Greene Aff. ¶ 15, Exs. ¶¶ 16–17; Bailey Aff., Ferguson Decl., Ex. E ¶ 5. And “[c]hil-

dren with speech or hearing impairments may have particular difficulties communicating while

wearing masks.” Greene Aff. ¶ 15, Exs. 44, 46, 52.

         In addition, the availability of alternative mitigation measures has increased over the

course of the pandemic. Most notably, vaccines are now available for children ages five and

older; clinical trials show that these vaccines are over 90 percent effective in preventing COVID-

19. 4 Greene Aff. ¶ 5, Ex. 51. High-quality N95 and KN95 masks are also now widely available.

While some children cannot wear these masks properly or for extended periods, “for children

who are capable of wearing N95 or KN95 masks, such masks can reduce the wearer’s risk of

contracting COVID-19 by up to 83%.” Greene Aff. ¶ 13, Ex. 12. These masks are highly effec-

tive in protecting the wearer, even when others in close proximity are not wearing masks. Greene

Aff. ¶ 13. There are also numerous other COVID-19 mitigation strategies available to schools,

including testing, improvements to ventilation, handwashing and respiratory etiquette, symptom

screening, contact tracing in combination with quarantine and isolation, and cleaning and disin-

fection. Id. ¶ 5.

         COVID-19 has also changed significantly over the past year. Current COVID-19 cases

are dominated by the Omicron variant, which is far more contagious than previous variants, but



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          All but three Plaintiff students allege that they have been vaccinated; two allege that they have not been
vaccinated because they are younger than five, and one alleges that she has not been vaccinated due to her medical
condition. FAC ¶¶ 73, 81, 91, 100, 108, 118, 127, 137, 146, 157, 167, 177.


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also leads to less severe disease. Greene Aff. ¶¶ 6–7. Due to Omicron’s greater contagiousness,

“universal masking” mandates “may be less effective against Omicron than previous variants.”

Id. ¶ 7. Omicron led to a rapid spike of COVID-19 cases in Virginia, followed by a rapid decline.

Id. ¶ 6. COVID-19 cases in Virginia are now 86.4 percent lower than their peak in January 2022.

Id.

III.    Governments and experts abandon universal student masking mandates in schools

        Given these changes in scientific knowledge and COVID-19 since 2020, it is unsurpris-

ing that an increasing number of experts and governmental bodies do not support universal stu-

dent mask mandates. Most recently, the CDC, which for nearly a year recommended universal

masking in schools, now recommends universal school masking only in jurisdictions where

“Community Levels” 5 of COVID-19 are “high.” 6 CDC, COVID-19 Community Levels (Feb. 25,

2022), Ferguson Decl., Ex. O. The CDC has also lifted its universal school-bus masking man-

date. CDC, Order: Wearing of Face Masks while on Conveyances and at Transportation Hubs

(revised Feb. 25, 2022), Ferguson Decl., Ex. P. The CDC now says that masking for healthy peo-

ple in areas with low and medium Community Levels—where approximately 72 percent of the

U.S. population lives 7— is a matter of “personal preference, informed by personal level of risk.”

Ferguson Decl., Ex. O.

        The twelve minor plaintiffs in this case attend schools in ten different jurisdictions. The

CDC now recommends universal masking in only two of those jurisdictions—Albemarle and



        5
           “Community Levels” are a function of the number of COVID-19 hospital admissions in the previous
seven days, the percentage of hospital beds occupied by COVID-19 patients, and the total number of new COVID-
19 infections in the previous seven days. Ferguson Decl., Ex. O.
         6
           See CDC, K-12 Schools (Jan. 13, 2022), https://tinyurl.com/5n98ve5m (noting that the new COVID-19
Community Levels recommendations “align precautions for educational settings with” guidance for all other set-
tings).
         7
           Sarah Toy & Jon Kamp, CDC Eases Mask Guidelines, Reflecting COVID-19’s Retreat, Wall St. J. (Feb.
25, 2022), https://tinyurl.com/bdz5t3m7.


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Bedford Counties—where Community Levels are currently high. Id. Only two minor plaintiffs

attend school in those counties. C.S., who is a student in Albemarle County, is currently receiv-

ing homebound instruction due to a serious illness, and his parents do not allege that a universal

mask mandate would make him able to return to the classroom. See Mem. Supp. Pls.’ Mot. TRO

Ex. 1 ¶ 14–15. R.M. attends school in Bedford County and apparently still receives in-person in-

struction notwithstanding the absence of a universal mask mandate. See Mem. Supp. Pls.’ Mot.

TRO Ex. 7 ¶ 10 (R.M.’s parents “are trying to determine whether to keep [R.M.] home from

school”).

       Similar to the CDC’s new guidance, international organizations including the United Na-

tions Children’s Fund (UNICEF) and the World Health Organization (WHO) recommend against

masking children younger than five, and do not recommend universal mask mandates for chil-

dren ages six to eleven. Greene Aff. ¶ 17; Exs. 22, 37. Instead, they recommend that decisions to

mask children six to eleven should be based on a multi-factor analysis, “including the child’s

ability to wear a mask safely and appropriately, and the potential impact of wearing a mask on

the child’s learning and psychosocial development.” Greene Aff. ¶ 17, Ex. 22. A number of for-

eign countries and U.S. states have ended student mask mandates. E.g., Greene Aff. ¶ 17.

       In Virginia, Governor Youngkin made extensive findings in Executive Order 2 (EO 2),

including that (1) universal masking orders “have proven ineffective and impractical” at reducing

COVID-19 transmission, and harm children’s development and mental health; (2) parents are in

the best position to make decisions for their children, including whether their children should

wear masks in school; and (3) there are numerous alternative methods to reduce COVID-19

transmission in schools. EO 2, Ferguson Decl., Ex. G. Governor Youngkin therefore rescinded

the statewide student mask mandate and ordered that “[t]he parents of any child enrolled in an




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elementary or secondary school or a school based early childcare and educational program may

elect for their children not to be subject to any mask mandate in effect at the child’s school or ed-

ucational program.” Ferguson Decl., Ex. G ¶ 2. EO 2 took effect on January 24, 2022.

       A number of Virginia schools refused to comply with EO 2 and continued to enforce stu-

dent mask mandates. Schools disciplined children whose parents had elected for them not to

wear masks, including segregating children from their classrooms, sending them to the princi-

pal’s office, and suspending them from school. Ferguson Decl., Ex. A ¶¶ 15–17; Ferguson Decl.,

Ex. B ¶¶ 6, 16; Ferguson Decl., Ex. C ¶¶ 8, 22–23. Schools even disciplined children who were

unable to wear masks due to “serious medical issues.” Belt Aff., Ferguson Decl., Ex. E ¶ 6. On

February 16, the General Assembly passed with bipartisan support, and the Governor signed into

law, a new statute that codified EO 2’s provisions that parents “may elect for [their] child to not

wear a mask while on school property” and that “[n]o student shall suffer any adverse discipli-

nary or academic consequences as a result of this parental election.” Va. Code § 22.1-2.1 (S.B.

739). The compliance deadline for S.B. 739 is March 1, 2022.

       On February 1, 2022, Plaintiffs sued to enjoin enforcement of EO 2, contending that the

Americans with Disabilities Act, 42 U.S.C. § 12131 et seq., and Section 504 of the Rehabilitation

Act of 1973, 29 U.S.C. § 794 et seq., require that schools be permitted to impose universal stu-

dent mask mandates to protect students with disabilities from contracting COVID-19 while at

school. On February 10, 2022, Plaintiffs moved for a statewide temporary restraining order and

preliminary injunction against EO 2. On February 18, 2022, Plaintiffs amended their complaint

to also seek an injunction against S.B. 739, and on February 22, 2022, Plaintiffs likewise supple-

mented their motion to seek the same relief.




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                                      LEGAL STANDARDS

       A preliminary injunction or temporary restraining order is “an extraordinary remedy that

may only be awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008); U.S. Dep’t of Labor v. Wolf Run Mining Co.,

452 F.3d 275, 281 n.1 (4th Cir. 2006). To obtain either form of relief, Plaintiffs must show that

“(1) they are likely to succeed on the merits of their claim, (2) they are likely to suffer irreparable

harm without an injunction, (3) the balance of equities tilts in their favor, and (4) issuing an in-

junction is in the public interest.” North Carolina State Conf. of the NAACP v. Raymond, 981

F.3d 295, 302 (4th Cir. 2020) (citing Winter, 555 U.S. at 20).

       A motion to dismiss for lack of standing or failure to exhaust administrative remedies un-

der the Individuals with Disabilities Education Act (IDEA) is governed by Federal Rule of Civil

Procedure 12(b)(1). D.N. v. Louisa Cty. Pub. Sch., 156 F. Supp. 3d 767, 771 (W.D. Va. 2016);

M.M. ex rel. DM v. Sch. Dist. of Greenville Cnty., 303 F.3d 523, 536 (4th Cir. 2002) (exhaustion).

Under Rule 12(b)(1), the burden of proof is on the plaintiff, and the Court may consider evidence

outside the pleadings to determine its jurisdiction. Canterbury v. J.P. Morgan Acquisition Corp.,

958 F. Supp. 2d 637, 650 n.5 (W.D. Va. 2013) (Moon, J.) (standing), aff’d sub nom. Canterbury

v. J.P. Morgan Mortg. Acquisition Corp., 561 Fed. Appx 293 (4th Cir. 2014). Under Rule

12(b)(6), “[t]o survive a motion to dismiss [for failure to state a claim], a plaintiff must plead

enough factual allegations to state a claim to relief that is plausible on its face.” Bing v. Brivo

Sys., LLC, 959 F.3d 605, 616 (4th Cir. 2020).

                                           ARGUMENT

I.     Plaintiffs lack standing because the challenged provisions have not injured them

       First, Plaintiffs’ claims fail because they lack standing. “To satisfy the irreducible consti-

tutional minimum of standing, a plaintiff must have (1) suffered an injury in fact, (2) that is fairly


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traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

favorable judicial decision.” Deal v. Mercer Cnty. Bd. of Educ., 911 F.3d 183, 187 (4th Cir. 2018)

(alterations and internal quotation marks omitted) (quoting Spokeo, Inc. v. Robins, 578 U.S. 330,

338 (2016)). “The plaintiff[s], as the part[ies] invoking federal jurisdiction, bear[ ] the burden of

establishing these elements.” Spokeo, 578 U.S. at 338. Plaintiffs have not met their burden here.

First, their alleged injuries are either speculative contentions concerning increased risks of future

harm, or are self-inflicted. Second, their alleged injuries are not traceable to the challenged pro-

visions, nor will they be redressed by the remedy they request because Plaintiffs’ schools are not

parties to this suit, and an injunction against the Defendants would impose no obligation of any

kind on their schools.

       A.      Plaintiffs have not alleged an injury in fact

       To satisfy the injury-in-fact requirement, a plaintiff must have “suffered ‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not con-

jectural or hypothetical.’” Spokeo, 578 U.S. at 339 (quoting Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992)). To qualify as “imminent,” an alleged future harm either must be “‘certainly

impending’ or there [must be] a ‘substantial risk’ that the harm will occur.” Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 158 (2014) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414

n.5 (2013)). “[A]llegations of possible future injury are not sufficient.” Clapper, 568 U.S. at 409

(internal quotation marks omitted) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990));

see Beck v. McDonald, 848 F.3d 262, 271 (4th Cir. 2017).

       Here, Plaintiffs assert EO 2 and S.B. 739 have injured them by creating “a Hobson’s

choice: expose their children to an educational environment that increases their risk of contract-

ing, and suffering severe illness from, COVID-19 or keep them out of school and isolated from

their teachers and peers.” Mem. Supp. Pls.’ Mot. TRO 4. But as the Fifth Circuit recently held in


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a very similar case, this “binary choice” is “false” and does not support standing because it

“wholly elides the various accommodations available to the plaintiffs (e.g., distancing, voluntary

masking, class spacing, plexiglass, and vaccinations).” E.T. v. Paxton, 19 F.4th 760, 766 (5th Cir.

2021).

         Just as in E.T., nothing in the challenged provisions prevent Plaintiffs and their schools

from engaging in alternate strategies to reduce their risk of contracting COVID-19, apart from

mandating that all other students wear masks. To the contrary, EO 2 affirmatively encourages the

use of other mitigation strategies, including improving ventilation and voluntary masking. Fergu-

son Decl., Ex. G. And as discussed in more detail below, see infra Argument Part II.A, Plaintiffs’

schools may be able to employ a host of additional accommodations, such as masking require-

ments for teachers or staff when in close proximity to Plaintiffs; physical distancing from un-

masked students; voluntary masking; improved ventilation; or distance learning, where appropri-

ate. Indeed, some Plaintiffs allege that their schools are using these measures. See, e.g., Pls.’

Suppl. Mot. TRO Ex. 17 ¶ 7 (Plaintiff I.C.’s teacher changed his seating assignment to distance

him from unmasked classmates); Pls.’ Suppl. Mot. TRO Ex. 15 ¶ 11 (all children in Plaintiff

J.N.’s classroom have voluntarily continued wearing masks).

         Plaintiffs themselves may be able to take additional measures to reduce their risk substan-

tially. These measures include wearing an N95 or KN95 mask, which can reduce the wearer’s

risk of contracting COVID-19 by up to 83 percent, regardless of whether others in the vicinity

are also masked. Greene Aff. ¶ 13, Ex. 12. Vaccines reduce the risks of suffering serious compli-

cations from COVID-19 by more than 90 percent, id. ¶ 5, Ex. 41; all but three of the Plaintiff stu-

dents allege that they have been vaccinated, see supra n.4. “[G]iven the other preventative

measures available to plaintiffs and the schools they attend, any injury-in-fact arising from the




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enforcement of [the challenged provisions] appears speculative or tentative, not actual or immi-

nent.” E.T., 19 F.4th at 766. 8

         Plaintiffs have not shown an injury in fact for the additional reason that they have not

demonstrated that the challenged provisions substantially increase their risks of contracting

COVID-19 or that they have a substantial probability of imminent harm. See Clapper, 568 U.S.

at 414 n.5. “Much government regulation slightly increases a citizen’s risk of injury—or insuffi-

ciently decreases the risk compared to what some citizens might prefer,” but such “probabilistic”

effects do not support standing. Public Citizen, Inc. v. Nat’l Highway Traffic Safety Admin., 489

F.3d 1279, 1295 (D.C. Cir. 2007) (Kavanaugh, J.); see Shrimpers & Fishermen of RGV v. Tex.

Comm’n on Envtl. Quality, 968 F.3d 419, 424 (5th Cir. 2020) (same). Rather, to proceed on an

“increased risk” theory, Plaintiffs must demonstrate “at least both (i) a substantially increased

risk of harm and (ii) a substantial probability of harm with that increase taken into account.”

Public Citizen, 489 F.3d at 1295. Plaintiffs have not met this standard here; their claim “relat[es]

to an increased risk of a hypothetical future injury that may never occur, or which may still occur

even if the relief that they seek is granted.” Doe 1 v. Upper Saint Clair Sch. Dist., No. 2:22-cv-

112, 2022 WL 189691, at *7 (W.D. Pa. Jan. 21, 2022) (rejecting challenge to mask-optional

school policy, inter alia, for lack of standing).




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           Plaintiffs rely on Arc of Iowa v. Reynolds, 24 F.4th 1162 (8th Cir. 2022), for the proposition that they suf-
fer an injury in fact, but that case is both inapposite and less persuasive than E.T. Unlike the challenged provisions
here, the order at issue in Arc of Iowa prohibited any mask requirements in schools, including for teachers and staff.
Id. at 1168. In addition, schools were defendants in Arc of Iowa, and the plaintiffs alleged that their schools had
“failed” to provide any reasonable accommodations, not just universal student masking. Id. at 1170. For instance,
the Eighth Circuit held that a plaintiff with asthma had standing based on allegations that his “school rejected a re-
quest” for the school nurse to wear a mask while helping the student “administer his inhaler.” Id. (alterations omit-
ted). Nothing in the challenged provisions here, however, would prevent a school from granting such a request. In-
deed, Arc of Iowa expressly distinguished E.T. on the ground that, unlike in E.T., teachers in Arc of Iowa were refus-
ing to mask. Id.


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        Plaintiffs have failed to establish anything approaching a substantially increased risk of

injury. Recognizing the substantially reduced risks of COVID-19, the CDC no longer recom-

mends universal masking for the vast majority of schoolchildren in Virginia 9—including nearly

every Plaintiff in this case. See supra Background Part III. Moreover, evidence shows that “strict

masking in school imposes hardship while providing only questionable benefit toward reducing

the transmission of COVID-19.” Greene Aff. ¶ 19. Multiple studies have found that student

masking mandates do not have a significant effect on COVID-19 transmission in schools. Id.

¶ 19, Exs. 26, 27, 36, 48, 54. In Virginia, regions “with more restrictive masking policies and

practices have experienced transmission rates similar to, or greater than, the transmission rates”

of regions without mask mandates. Id. ¶ 16. Student mask mandates may be ineffective because

children frequently wear masks incorrectly or intermittently, and often wear “masks made of

plain cloth, [and] masks that are soiled or poorly fitting,” which have “reduced or no benefit.” Id.

¶ 10; see Ferguson Decl., Ex. A ¶ 10; supra Background Part II. Plaintiffs also have not demon-

strated a “substantial probability” that they will contract COVID-19 given the recent precipitous

decline in Virginia cases as well as the availability of vaccines and other highly effective mitiga-

tion measures. Supra Background Part I. In short, “[t]he risks of contracting COVID-19 for these

plaintiffs are certainly real, but the alleged injury to plaintiffs from the enforcement of [the chal-

lenged provisions] is, at this point, much more abstract,” and does not support standing. E.T., 19

F.4th at 766.

        Plaintiffs’ allegations that the challenged provisions have “forc[ed] them out of the public

school system,” Mem. Supp. Pls.’ Mot. TRO 17, also cannot support standing. Article III does



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          Jeff Williamson, New CDC Masking Guidance Still Has 48% of Virginia Cities and Counties Wearing
Masks Indoors, WSLS (Feb. 25, 2022), https://tinyurl.com/3bpthd6r (noting that the CDC no longer recommends
universal masking nearly 78 percent of Virginia’s population).


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not permit a plaintiff “to manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending.” Clapper, 568 U.S. at 416;

accord Wikimedia Found. v. Nat’l Sec. Agency, 857 F.3d 193, 216 (4th Cir. 2017). While some

Plaintiffs have chosen not to attend schools in the absence of a universal student mask mandate,

any “deprivation of access to in-person education” is “attributable to choices made by plaintiffs,”

and such “self-inflicted” injury is “insufficient to confer standing.” E.T., 19 F.4th at 766 n.2.

       B.      Plaintiffs’ alleged injuries are not traceable to Defendants’ conduct or
               redressable by the Court

       Plaintiffs also lack standing because their alleged injuries are not traceable to Defendants’

conduct or redressable by the Court. “For an injury to be traceable, ‘there must be a causal con-

nection between the injury and the conduct complained of’ by the plaintiff.” Air Evac EMS, Inc.

v. Cheatham, 910 F.3d 751, 760 (4th Cir. 2018) (quoting Lujan, 504 U.S. 560). Standing also re-

quires that any injury be “likely to be redressed by a favorable judicial decision.” Deal, 911 F.3d

at 187 (quoting Spokeo, 578 U.S. at 338).

       Most relevant here, an injury is neither traceable to the defendant’s conduct nor redressa-

ble by a judicial order when it “results from the independent action of some third party.” Frank

Krasner Enters. v. Montgomery County, 401 F.3d 230, 234 (4th Cir. 2005) (quoting Allen v.

Wright, 468 U.S. 737, 757 (1984)). When, as here, “a plaintiff’s asserted injury arises from the

government’s allegedly unlawful regulation of someone” other than the plaintiff, the plaintiff

must “adduce facts showing that [the third party’s] choices have been or will be made in such

manner as to produce causation and permit redressability of injury.” Lujan, 504 U.S. at 562.

Traceability and redressability in cases turning on the conduct of independent third parties not

before the court are “ordinarily ‘substantially more difficult’ to establish” than cases where the

plaintiff is the object of the allegedly unlawful regulation. California v. Texas, 141 S. Ct. 2104,



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2117 (2021) (quoting Lujan, 504 U.S. at 562). And the plaintiff “cannot rely on speculation about

‘the unfettered choices made by independent actors not before the Court’” to demonstrate that his

injury would be redressed by the order he seeks. Clapper, 568 U.S. at 414 n.5 (quoting Lujan,

504 U.S. at 562).

       Plaintiffs cannot demonstrate traceability and redressability here for several reasons.

First, for all the reasons explained above, student mask mandates are largely ineffective at reduc-

ing the transmission of COVID-19, and an injunction of the challenged provisions would there-

fore not redress Plaintiffs’ alleged injury. Supra Background Part II.

       Second, Plaintiffs cannot demonstrate traceability or redressability because the relief they

seek—an injunction of EO 2 and S.B. 739—would have no effect on Plaintiffs unless independ-

ent third-party actors—Plaintiffs’ school boards, who are not parties to this suit—chose to re-im-

pose universal student mask mandates. See E.T., 19 F.4th at 766 (holding that students lacked

standing to sue Attorney General because nothing in the relief requested “would require the

schools to remedy plaintiffs’ alleged injury via local mask mandates”). Plaintiffs do not suggest

that the relief they request would require their schools to impose mask mandates. Plaintiffs ar-

gue, however, that the injunction is necessary to “allow school districts to . . . consider whether

to implement mask requirements as needed to protect the health and safety of the children they

serve.” FAC ¶ 67; see also Mem. Supp. Pls.’ Mot. 37. But it is “wholly speculative” whether the

school divisions where Plaintiffs attend school—which are not a party to this suit and would not

be bound by the Plaintiffs’ requested injunction—would exercise this “discretion” to re-impose

universal masking mandates. Disability Rts. S. Carolina v. McMaster, 24 F.4th 893, 903 (4th Cir.

2022). Plaintiffs therefore run afoul of the basic principle that a party lacks standing when its




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requested relief “rest[s] on speculation about the decisions of independent actors.” Clapper, 568

U.S. at 414.

         For one thing, Plaintiffs’ requested injunction would not actually confer on the school

boards any “discretion” they do not currently enjoy. Defendants do not have any special author-

ity to enforce EO 2 or S.B. 739. The only “enforcement” activity identified by the Plaintiffs is

that three Defendants—the Governor, Attorney General, and Superintendent of Public Instruc-

tion—have participated in lawsuits filed by others to protect the rights of parents to opt their chil-

dren out of student masking mandates. See Commonwealth’s Memo. Law 1, Alexandria City

Sch. Bd. v. Youngkin, No. 22-224 (Arlington Cnty. Cir. Ct. Feb. 1, 2022), Ferguson Decl., Ex. I;

Commonwealth’s Memo. L. 1, Barnett v. Loudoun Cnty. Sch. Bd., No. 22-546 (Loudoun Cnty.

Cir. Ct. Feb. 14, 2022), Ferguson Decl., Ex. L. 10 They have done so pursuant to a statute that per-

mits them to sue to protect the rights of citizens of the Commonwealth, not a particular enforce-

ment power related to EO 2 or S.B. 739. See Va. Code § 2.2-111; Gilmore v. Finn, 259 Va. 448

(2000). Any parent aggrieved by a school board’s refusal to comply with EO 2 or S.B. 739 simi-

larly could sue to protect his or her right to opt out of a masking mandate. Indeed, every suit to

enforce EO 2 was initiated by parents, not by Defendants. See Compl., Lukas v. Fairfax Cnty.

Sch. Bd., 22-2033 (Fairfax Cnty. Cir. Ct. Feb. 14, 2022); Compl., Barnett v. Loudoun Cnty. Sch.

Bd., No. 22-546 (Loudoun Cnty. Circuit Ct. Feb. 1, 2022); Temp. Inj. Mot., Riddell-Bellido v.

Frederick Cnty. Pub. Schs., No. 22-51 (Frederick Cnty. Cir. Ct. Feb. 1, 2022). 11 Enjoining



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           Plaintiffs claim that Defendants threatened to “enforce” EO 2 in a February 9, 2022 letter from the Chief
Deputy Attorney General to Plaintiffs’ counsel. See Mem. Supp. Pls.’ Mot. TRO Ex. 14. In fact, the Chief Deputy
Attorney General responded to Plaintiffs’ threat to seek immediate injunctive relief in their ongoing lawsuit, see Fer-
guson Decl., Ex. M, by promising to “defend” EO 2 against legal challenges Mem. Supp. Pls.’ Mot. TRO Ex. 14. A
promise to “defend” a law in an ongoing lawsuit is not a threat to enforce it.
        11
           The Governor participated in Alexandria City School Board as a Defendant-Counterclaimant after seven
school boards sued him, see Compl., Alexandria City Sch. Bd. v. Youngkin, No. 22-224 (Arlington Cnty. Cir. Ct. Jan.
24, 2022), Ferguson Decl., Ex. H, and the Commonwealth, by the Governor and Attorney General, intervened as a


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Defendants from “enforcing” EO 2 or S.B. 739 therefore would not free school boards from hav-

ing EO 2 or S.B. 739 enforced against them.

           Even if Plaintiffs’ requested injunction conferred on school boards the discretion Plain-

tiffs claim it would, Plaintiffs “must show at the least ‘that [school boards] will likely’” exercise

that discretion to impose universal student masking mandates. California, 141 S. Ct. at 2117

(quoting Department of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019)). Plaintiffs have

failed to satisfy this burden.

           First, the Supreme Court of Virginia held before S.B. 739 became law that school boards

enjoyed “discretion to modify or even forgo [universal masking] as they deem appropriate for

their individual circumstances.” Castillo v. Youngkin, Record No. 220033, slip op. at 3 (Feb. 7,

2022) (unpublished), Ferguson Decl., Ex. N. And Plaintiffs acknowledge that at least some of the

school divisions where Plaintiffs attend school exercised that discretion to lift their universal

masking mandate irrespective of EO 2 or S.B. 739. See, e.g., FAC ¶ 60 (alleging that Bedford

County had voted to end universal masking mandates before Governor Youngkin was sworn into

office).

           Second, it blinks reality to assume, as Plaintiffs do, that the school divisions would re-

impose now the same mitigation measures they imposed months ago. The CDC no longer recom-

mends universal masking for nearly 78 percent of Virginia’s population, 12 including for ten of the

twelve plaintiff students in this case. See supra Background Part III. 13 Confirmed case counts in


Plaintiff in a lawsuit to enforce EO 2 filed by parents, see Compl. in Intervention, Barnett v. Loudoun Cnty. Sch. Bd.,
No. 22-546 (Loudoun Cnty. Cir. Ct. Feb. 2, 2022), Ferguson Decl., Ex. K.
          12
             See Williamson, supra note 12.
          13
             Plaintiffs offer nothing but pure speculation in support of their claim that either of the counties with cur-
rently high Community Levels would reimpose mask mandates if this Court issued the requested injunction. The
Bedford County School Board voted to lift its universal student masking mandate before Governor Youngkin was
sworn into office. FAC ¶ 61. At the time, the health district in which Bedford County lies (comprised of five coun-
ties and five cities) reported 532 cases of COVID-19 among children. See Va. Dep’t Health, Weekly Health District
Case Data, https://tinyurl.com/2p9eabe6 (hereinafter “Weekly Case Data”). Bedford County reported 176 total cases


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Virginia have plummeted 77 perecent since Plaintiffs filed their complaint (from 35,239 the

week of January 29 to 8,104 the week of February 19), and nearly 90 percent since Governor

Youngkin issued EO 2 (from 76,080 the week of January 15 to 8,104 the week of February 19). 14

And substantial evidence demonstrates that universal student masking mandates are ineffective

and harmful mitigation measures. See supra Background Part II. Plaintiffs’ ipse dixit assertion

that the school divisions would impose universal student masking mandates if this Court granted

the requested injunction therefore are not merely speculative—they are implausible. See Depart-

ment of Commerce, 139 S. Ct. at 2566 (holding that plaintiffs cannot establish standing on basis

of conduct of independent third parties without demonstrating that “third parties will likely react

in predictable ways”).

                                                        ***

         At bottom, Plaintiffs simply cannot obtain their desired relief—universal mask mandates

in their schools—by way of the remedy they have requested—an injunction prohibiting the De-

fendants from “enforcing” EO 2 and S.B. 739. The requested relief would not require Plaintiffs’

schools to impose universal mask mandates. And Plaintiffs have failed to demonstrate that the

school boards would respond to the requested injunction by choosing to impose universal




among all ages. See Va. Dep’t Health, COVID-19 in Virginia: Locality, https://tinyurl.com/5xpw7bfw (hereinafter
“COVID-19 by Locality”). Case rates among children in the health district have since declined more than 87% to 68
cases among children, see Weekly Case Data, and total case rates in Bedford County have dropped nearly 81% to 34
total cases, see COVID-19 by Locality. It strains credulity to argue that a county that voluntarily rescinded its mask
mandate would voluntarily reimpose it after case counts fell more than 80% in the interim.
          The same is true of Albemarle County. The health district in which Albemarle County lies (comprised of
five counties and one city) reported 719 COVID-19 cases among children the week after Governor Youngkin signed
EO 2, see Weekly Case Data, and Albemarle County reported a daily high of 318 total cases that same week, see
COVID-19 by Locality. Case counts among children in the health district have since plummeted 81% to 135 cases,
see Weekly Case Data, and total cases in Albemarle have fallen nearly 85% from their January peak to 48 total
cases, see COVID-19 by Locality. Plaintiffs offer no persuasive rationale to explain why Albemarle would reimpose
a universal student masking mandate while case counts continue to fall.
          14
             Va. Dep’t Health, COVID-19 in Virginia: Cases, https://tinyurl.com/yckbdsu7.


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masking mandates. Indeed, the evidence shows they would not. Plaintiffs therefore lack standing,

and this Court should deny their request for preliminary injunctive relief and dismiss their com-

plaint.

II.       Plaintiffs’ ADA and Rehabilitation Act claims fail

          A.      Plaintiffs failed to exhaust their administrative remedies as required by
                  IDEA

          Plaintiffs’ choice to seek an injunction against EO 2 and S.B. 739 rather than requesting

an accommodation from their schools also precludes their claims. Plaintiffs must exhaust admin-

istrative remedies before litigating ADA and Rehabilitation Act claims where, as here, their suit

“seek[s] relief that is also available under” the Individuals with Disabilities Education Act

(IDEA). 20 U.S.C. § 1415(l). 15

          The exhaustion requirement reflects a Congressional judgment that “school officials,

teachers, and parents” should work together to craft a personalized plan to meet the student’s

needs before pursuing litigation. Fry ex rel. E.F. v. Napoleon Community. Schools, 137 S. Ct.

743, 749 (2017). It also permits local and state education officials to bring their expertise to bear

in crafting that personalized plan. See E.L. ex rel. Lorsson v. Chapel Hill-Carrboro Bd. of Educ.,

773 F.3d 509, 514 (4th Cir. 2014). Only if the parents and local officials are unable to agree on

an accommodation at the end of this administrative process are federal courts supposed to step in

and resolve the dispute. Winkelman ex rel. Winkelman v. Parma City Sch. Dist., 550 U.S. 516,

526 (2007).


          15
            Three of the Plaintiffs allege that they requested that they be physically distanced from unmasked stu-
dents as an accommodation under IDEA. FAC ¶ 172; Pls.’ Suppl. Mot. TRO Ex. 17 ¶ 7; Pls.’ Suppl. Mot. TRO Ex.
15 ¶¶ 7–8. J.M. alleges that the school denied this request due to his lack of “medical documentation” supporting it.
FAC ¶ 172. I.C. alleges that his school changed his seating assignment in accordance with his request Pls.’ Suppl.
Mot. TRO Ex. 17 ¶ 7. J.N. alleges that the school has not yet responded to the request, but that all students in his
class are voluntarily masking. Pls.’ Suppl. Mot. TRO Ex. 15 ¶¶ 7–8. No Plaintiff alleges that he or she exhausted
administrative remedies by challenging the school’s decisions before the local or state educational agency. See Fry,
137 S. Ct. at 749; 20 U.S.C. § 1415(b)(6).


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         Here, “given the unique circumstances of each child . . . each of Plaintiffs’ children would

benefit from the individualized process afforded by the IDEA’s administrative remedies.” Hayes

v. DeSantis, No. 1:21-cv-22863, 2021 WL 4236698, at *9 (S.D. Fla. Sept. 15, 2021) (rejecting

ADA challenge to executive order making masks optional for schoolchildren for failure to ex-

haust administrative remedies); Doe 1, 2022 WL 189691, at *12 (similar). The provisions that

Plaintiffs challenge affect only one potential mitigation strategy: universal student mask man-

dates. They do not affect the numerous other potential accommodations schools could offer.

         Reasonable and appropriate accommodations are likely to vary according to the individ-

ual needs of each student and the circumstances of each school. Wholly apart from universal

masking mandates, accommodations might include, for instance, Plaintiff students wearing

masks themselves, particularly high-quality N95 or KN95 masks; maintaining physical distanc-

ing from unmasked students, such as through changes to seat or classroom assignments, see FAC

¶ 152 (alleging that school has “arranged for I.C. to sit . . . at a distance from other students”);

masking for teachers, staff, and aides when in proximity to Plaintiffs; or options other than class-

room instruction, such as one-on-one instruction or remote learning. See supra Background Part

II. 16 In addition, schools can implement numerous other COVID-19 prevention measures, such

as symptom screening, testing, contact tracing, and improvements in ventilation. See supra

Background Part II. “Plaintiffs do not know to what extent some mutually acceptable accommo-

dation could have been reached because they bypassed the entire administrative process.” Doe 1,

2022 WL 189691, at *12. Their claims fail for this reason alone.




         16
            Plaintiffs allege that some of their schools do not currently offer some of these options, such as remote
learning or “requests for class changes or special seating assignments due to mask preference.” See FAC ¶ 58, 142,
172. Again, however, Plaintiffs have not requested reasonable accommodations from their schools pursuant to
IDEA. The very nature of a reasonable accommodation is that it is an exception to a school’s generally applicable
programs and policies to accommodate a student with a disability. See 20 U.S.C. § 1412.


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       Plaintiffs do not even mention this exhaustion requirement, apparently taking the position

that it is inapplicable because they bring claims under the ADA and Rehabilitation Act rather

than directly under IDEA. Any such position is erroneous. A parent must satisfy the IDEA ex-

haustion requirements for claims brought under the ADA and Rehabilitation Act whenever “the

substance, or gravamen, of the plaintiff’s complaint” “seek[s] relief for the denial” of a free ap-

propriate public education, or “FAPE.” Fry, 137 S. Ct. at 752. A FAPE includes a child’s “‘mean-

ingful’ access to education based on her individual needs.” Id. at 753–54 (quoting Board of Educ.

of Hendrick Hudson Cent. Sch. Dist. v. Rowley, 458 U.S. 176, 192 (1982)). The “gravamen” of a

complaint can be discerned from the answers to two “hypothetical questions.” Id. at 756. “First,

could the plaintiff have brought essentially the same claim if the alleged conduct had occurred at

a public facility that was not a school” such as a “a public theater or library?” Id. “And second,

could an adult at the school,” like “an employee or visitor[,] have pressed essentially the same

grievance?” Id. “[I]f the answer to both questions is ‘no,’ then a plaintiff likely seeks relief for

the denial of a FAPE, such that the exhaustion requirement applies.” Z.G. ex rel. C.G. v. Pamlico

Cnty. Pub. Schs. Bd. of Educ., 744 Fed. Appx 769, 778–79 (4th Cir. 2018) (citing Fry, 137 S. Ct.

at 756); E.T., 19 F.4th at 767.

       Here, as in E.T., the IDEA exhaustion requirement applies because the gravamen of

Plaintiffs’ claims is “the deprivation of an in-person state-sponsored education because of their

risk of contracting COVID-19 without a mask mandate.” E.T., 19 F4th at 767. This “essential as-

pect of plaintiffs’ claims, access to in-person learning, could not be levied against ‘a public facil-

ity that was not a school.’” Id.; see Hayes, 2021 WL 4236698, at *10 (similarly holding that

IDEA exhaustion requirement applies to executive order allowing for parental opt-out from

school mask mandate). Indeed, Plaintiffs repeatedly assert that the challenged provisions are




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unlawful because they force them “to choose between putting [Plaintiff students] at risk of severe

illness if they contract COVID-19 and keeping them home with little or no education.” FAC ¶ 2;

see also, e.g., id. ¶ 11 (alleging that EO 2 and S.B. 739 “illegally force parents of students with

disabilities to choose between their children’s education and their health and safety”); ¶¶ 103–

105 (alleging that “virtual learning . . . did not work well” for Plaintiff G.D., and “without a

mask mandate, G.D. cannot participate in his public education, which harms his educational pro-

gress”); ¶¶ 22, 82, 135, 143 (referencing the “Individualized Education Programs” or “IEPs” of

Plaintiffs J.N. and C.B.). 17

         Because the gravamen of Plaintiffs’ claims is the deprivation of a public education, the

claims could not be brought by adults or as to other public facilities. Indeed, to the extent that

Plaintiffs contend that their claims could be made outside a school setting, that would simply un-

derscore the extraordinary breadth of, and absence of any limiting principle to, their theory of li-

ability: on such a theory, the ADA and Rehabilitation Act would apparently also require universal

mask mandates for all adults in all “place[s] of public accommodation.” 42 U.S.C. § 12182; see

Doe 1, 2022 WL 189691, at *11 (noting that if IDEA exhaustion is inapplicable to challenge to

school masking policy, then Plaintiffs’ position that ADA requires universal mandatory masking

would logically apply equally to “any workplace” and “any place of commerce”). Further, this

universal mask mandate requirement would apparently extend indefinitely, as people with disa-

bilities may be highly vulnerable to a wide range of infectious diseases, not just COVID-19. See

Greene Aff. ¶ 9, Ex. 45. Plaintiffs do not appear to press such a sweeping and unlimited construc-

tion of these statutes, which would amount to a claim that Congress has perpetually preempted



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            Arc of Iowa is again distinguishable because plaintiffs in that case did “not challenge[] the adequacy of
their individual, special education services, or their IEPS,” but only the “physical environment” of their schools. 24
F.4th at 1175.


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state and local authority on the important policy question of when to mandate the wearing of face

masks.

         Because Plaintiffs have not exhausted their administrative remedies, their motion for a

temporary restraining order and preliminary injunction should be denied and Defendants’ motion

to dismiss should be granted.

         B.     Student mask mandates are not a reasonable accommodation under the ADA
                or the Rehabilitation Act

         Plaintiffs’ claims also fail on the merits because a universal student mask mandate is not a

reasonable accommodation under the ADA or Rehabilitation Act, much less the only possible

reasonable accommodation that could satisfy those statutes.

         Even if the IDEA exhaustion requirement were inapplicable, but see supra Argument Part

II.A, a plaintiff generally “must make an adequate request” for a reasonable accommodation un-

der the ADA, “thereby putting the [defendant] on notice” of the plaintiff’s disability. Wilson v.

Dollar Gen. Corp., 717 F.3d 337, 346–47 (4th Cir. 2013) (quoting EEOC v. C.R. England, Inc.,

644 F.3d 1028, 1049 (10th Cir. 2011)); Reyazuddin v. Montgomery County, 789 F.3d 407, 414

(4th Cir. 2015) (explaining that a prima facie claim under the Rehabilitation Act requires “notice

of [the plaintiff’s] disability”); Chenari v. George Wash. Univ., 847 F.3d 740, 746–47 (D.C. Cir.

2017) (similar). Where, as here, Plaintiffs have not requested a reasonable accommodation be-

fore bringing suit, they must “demonstrate that the reasonable accommodation they proposed to

the court” is both “necessary and obvious.” E.T., 19 F.4th at 768; Updike v. Multnomah County,

870 F.3d 939, 951 (9th Cir. 2017); J.V. v. Albuquerque Pub. Schs., 813 F.3d 1280, 1298 (10th Cir.

2016). Without such a showing, Plaintiffs cannot demonstrate that they have been “excluded

from participation in or denied the benefits of” public education “on the basis of [their]




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disabilit[ies].” Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 498 (4th

Cir. 2005).

       Plaintiffs cannot meet this standard, because the evidence “does not support the conclu-

sion that a mask mandate would be both necessary and obvious under the ADA or the Rehabilita-

tion Act.” E.T., 19 F.4th at 768. “While Plaintiffs may prefer a mask mandate and other stricter

policies, Defendants are not required to provide Plaintiffs with their preferred accommodation.”

L.E. v. Ragsdale, No. 1:21-cv-4076, 2021 WL 4841056, at *3 (N.D. Ga. Oct. 15, 2021). Rather,

the ADA and Rehabilitation Act only require schools to make some reasonable accommodation

that affords students “meaningful access to education.” Id.; Fink v. Richmond, 405 Fed. App’x.

719, 722 (4th Cir. 2010) (under Title II, an entity is “only required to offer a reasonable accom-

modation, not the perfect or [the plaintiff’s] preferred accommodation” (quoting Fink v. Rich-

mond, No. 07-cv-714, 2009 WL 3216117, at *8 (D. Md. Sept. 29, 2009))); Wright v. N.Y. State

Dep’t of Corr., 831 F.3d 64, 72 (2d Cir. 2016) (same). As described above, the challenged provi-

sions leave Plaintiffs’ schools free to make a host of potential accommodations for Plaintiffs’

conditions, other than universal student mask mandates. See supra Argument Part II.A. Plaintiffs

have not and cannot show “that the only reasonable accommodation appropriate in light of child

Plaintiffs’ conditions is a requirement of universal masking in the[ir] School District[s].” Doe 1,

2022 WL 189691, at *14; see Doe #1 v. Del. Valley Sch. Dist., No. 3:21-CV-1778, 2021 WL

5239734, at *28 (M.D. Pa. Nov. 11, 2021) (similar). Their claims therefore fail.

       A universal student mask mandate is not a “reasonable accommodation” at all, much less

a necessary and obvious one. To the contrary, as discussed above, the CDC no longer recom-

mends universal masking for the vast majority of schools in America—including schools at-

tended by ten of the twelve Plaintiff students here. See supra Background Part III. Student mask




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mandates are also largely ineffective at reducing transmission of COVID-19 in schools. See su-

pra Background Part II; Greene Aff. ¶ 19, Exs. 26–27, 36, 48, 54. At the same time, student mask

mandates harm children’s academic and social development. Greene Aff. ¶ 14, Exs. 14, 27–32,

34, 39. Mask mandates appear to be especially harmful to children with certain disabilities or

medical conditions, including speech and language impairments, autism, and anxiety disorders.

Greene Aff. ¶ 15, Exs. 16–17, 23, 25, 35, 44, 46–47, 52. One Plaintiff herself alleges that she is

unable to wear a mask in school due to her disability. FAC ¶ 157. An accommodation is not rea-

sonable where it “tramples on the rights of other [students]” in this manner. E.E.O.C. v. Sara Lee

Corp., 237 F.3d 349, 355 (4th Cir. 2001); Bercovitch v. Baldwin Sch., Inc., 133 F.3d 141, 152 (1st

Cir. 1998) (finding that an accommodation is not reasonable where it would have “impaired the

educational experience of the other students”).

       In addition, “the unreasonableness of Plaintiffs’ position is highlighted by its unprece-

dented nature” and lack of a limiting principle. Doe 1, 2022 WL 189691, at *15. As another court

remarked in rejecting a similar claim, “[a]lthough immunocompromised children have always

been present in our schools, and communicable diseases have always circulated, prior to

COVID-19 there was never an argument for mandatory, indefinite, universal masking in

schools—much less the argument that the failure of a school district to mandate universal mask-

ing constitutes a violation of federal law.” Id. Indeed, “[a]side from cases addressing COVID-

19,” there does not appear to be “a single case where a court held that a reasonable accommoda-

tion for an immunocompromised or otherwise vulnerable person was to require all other students

and staff of a school, or constituents of an institution or community, to wear a mask or any other

type of personal protective equipment.” Id. Yet immunocompromised students may be highly

vulnerable to a wide range of infectious diseases such as influenza, not only to COVID-19. See,




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e.g., Greene Aff. ¶ 9, Ex. 45. For all these reasons, student mask mandates are not a reasonable

accommodation, much less the only possible reasonable accommodation, under the ADA and Re-

habilitation Act.

       C.      Federal law does not preempt EO 2 or S.B. 739

       Plaintiffs’ claims that the ADA, Rehabilitation Act, and American Rescue Plan Act

(ARPA) preempt EO 2 and S.B. 739 also fail.

       None of these statutes contains an express preemption clause; rather, Plaintiffs contend

they implicitly preempt EO 2 and S.B. 739 because the latter “stand[] as an obstacle to the ac-

complishment and execution of the full purposes and objectives of Congress” contained in the

former. FAC ¶ 210 (quoting Pac. Gas & Elec. Co. v. State Energy Res. Conserv. & Dev. Comm’n,

461 U.S. 190, 204 (1983)). As to the ADA and Rehabilitation Act, this argument fails unless

Plaintiffs can demonstrate “that application of [the challenged provisions] would make it impos-

sible for schools to comply with” federal law because “a mask mandate would be the only way to

provide plaintiffs an in-person public education.” E.T., 19 F.4th at 768. Plaintiffs cannot make

this showing for the same reasons that they cannot succeed on the merits of their ADA and Reha-

bilitation Act claims: they have not demonstrated that student mask mandates are a reasonable

accommodation for each individual Plaintiff’s disability in view of the circumstances of each

Plaintiff’s school, much less that there are no alternative reasonable accommodations that could

harmonize EO 2 and S.B. 739 with federal law. Particularly in light of the “presumption against

pre-emption in areas of traditional state regulation,” Egelhoff v. Egelhoff ex rel. Breiner, 532 U.S.

141, 151 (2001), such as “education,” United States v. Lopez, 514 U.S. 549, 580 (1995) (Ken-

nedy, J., concurring), Plaintiffs’ conflict preemption argument fails.

       Plaintiffs’ contention that ARPA preempts EO 2 and S.B. 739 is meritless. First, the claim

fails at the outset because Plaintiffs have no cause of action under ARPA. There is “no language


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in the act . . . that appears to create such an action,” E.T., 19 F.4th at 769 n.3, and ARPA does not

grant any rights to private individuals such as Plaintiffs. Rather, ARPA merely establishes a grant

program under which states receive grants, and may make subgrants to governmental bodies in-

cluding school divisions. See American Rescue Plan Act of 2021, Pub. L. No. 117-2, § 2001, 135

Stat. 4, 19. “Unless Congress ‘speaks with a clear voice,’ and manifests an ‘unambiguous intent’

to confer individual rights, federal funding provisions provide no basis for private enforcement

under § 1983.” Gonzaga Univ. v. Doe, 536 U.S. 273, 280 (2002) (alterations omitted) (quoting

Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17, 28 & n.21 (1981)); see also Ziglar

v. Abbasi, 137 S. Ct. 1843, 1856 (2017) (“If the statute does not itself so provide, a private cause

of action will not be created through judicial mandate.”). The “absence of any private substantive

right in [ARPA] forecloses federal relief based on alleged violations” of the Act. Safe Streets Al-

liance v. Hickenlooper, 859 F.3d 865, 892 (10th Cir. 2017).

       Second, ARPA does not preempt EO 2 or S.B. 739 because it does not conflict with those

provisions. Again, ARPA has no express preemption clause, and Plaintiffs must therefore over-

come “the basic assumption that Congress did not intend to displace state law.” Maryland v. Lou-

isiana, 451 U.S. 725, 746 (1981). Plaintiffs rely upon statutory language indicating that Congress

allocated funds to assist with “[d]eveloping strategies and implementing public health protocols

including, to the greatest extent practicable, policies in line with guidance from the Centers for

Disease Control and Prevention for the reopening and operation of school facilities to effectively

maintain the health and safety of students, educators, and other staff.” FAC ¶ 216 (quoting Pub.

L. No. 117-2, § 2001(e)(2)(Q), 135 Stat. 4, 21 (2021)). But nothing in this language remotely

suggests that federal law requires schools to follow CDC guidance if they have taken ARPA

funds—and even if it did, the CDC no longer recommends universal student masking for the vast




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majority of American students. Plaintiffs themselves concede that ARPA “did not mandate that

local school districts adopt CDC guidance.” Id. ¶ 218 (emphasis added). Rather, the Department

of Education rule implementing ARPA requires only that a school “describe in its plan the extent

to which it has adopted the key prevention and mitigation strategies identified in the guidance[.]”

Am. Rescue Plan Act Elementary and Secondary School Emergency Relief Fund, 86 Fed. Reg.

21,195, 21,200 (April 22, 2021); see also Mem. Supp. Pls.’ Mot. TRO 26.

       EO 2 and S.B. 739 do nothing to prevent schools from “describ[ing] the extent to which

[they have] adopted” CDC guidance. 86 Fed. Reg. at 21,200. Nor do those provisions prevent

schools from using ARPA funds to adopt COVID-19 mitigation measures recommended by

CDC, including improvements to ventilation, testing and contact tracing, providing vaccinations,

sanitizing, and other measures. See id. Particularly in light of the “presumption against pre-emp-

tion in areas of traditional state regulation” such as education, Egelhoff, 532 U.S. at 151, ARPA

cannot plausibly be read as preempting EO 2 or S.B. 739.

III.   The other factors governing equitable relief weigh in favor of Defendants

       A.      Plaintiffs will not suffer irreparable harm in the absence of preliminary relief

       Plaintiffs’ motion for a temporary restraining order or preliminary injunction should also

be denied because Plaintiffs have not demonstrated that they will suffer irreparable harm if the

Court does not enjoin EO 2. To satisfy this requirement, “a plaintiff must demonstrate more than

just a ‘possibility’ of irreparable harm,” since “[i]ssuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with our characterization of injunctive relief as an

extraordinary remedy.” Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017) (quoting Win-

ter, 555 U.S. at 22); see also Allee v. Streeval, 2021 WL 2784555, at *1 (W.D. Va. July 2, 2021)

(“To qualify as irreparable, the feared harm must be neither remote nor speculative, but actual




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and imminent, such that it poses a real and immediate threat.” (internal quotation marks omitted)

(quoting Tucker Anthony Realty Corp. v. Schlesinger, 888 F.2d 969, 975 (2d Cir. 1989))).

       For all the reasons set forth above, Plaintiffs have failed to show that they will suffer an

irreparable injury, or even any injury in fact, in the absence of an injunction. See supra Argument

Part I. The lack of student mask mandates does not substantially increase Plaintiffs’ risk of con-

tracting COVID-19, particularly given the alternate mitigation strategies that remain available to

Plaintiffs and their schools. See supra Background Part II; Argument Part II.B. Indeed, the CDC

having terminated its recommendation of universal masking for all but two of the schools at-

tended by the Plaintiffs in this case reflects a recognition that universal masking is now generally

unnecessary to reduce the risk of COVID-19 transmission. See supra Background Part III. A

“preliminary injunction is not warranted where, as here, the moving parties have not shown that

they availed themselves of opportunities to avoid the injuries of which they now complain.” Di

Biase, 872 F.3d at 235.

       Moreover, the equitable relief requested by Plaintiffs would not even require their schools

to change their masking policies in any way. See supra Argument Part I.B. Plaintiffs have there-

fore failed to show that the requested injunction is likely to avert irreparable injury. Di Biase, 872

F.3d at 235.

       B.      The balance of equities and public interest weigh in Defendants’ favor

       The balance of equities and the public interest also weigh against an injunction. “These

two elements are often considered together, especially when the government is the party oppos-

ing an injunction.” Belle Garden Est., LLC v. Northam, No. 7:21cv00135, 2021 WL 1156855, at

*7 (W.D. Va. Mar. 26, 2021) (collecting cases).

       Here, enjoining the challenged provisions would harm the Commonwealth and Virginia

students. “[A]ny time a State is enjoined by a court from effectuating statutes enacted by


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representatives of its people, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S.

1301, 1303 (2021) (Roberts, C.J., in chambers) (quoting New Motor Vehicle Bd. of Cal. v. Orrin

W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)). “[T]he same reasoning

applies” when a case involves “an executive order issued by the Governor under his emergency

authority,” E.T., 19 F.4th at 770. S.B. 739 was enacted on a bipartisan basis to codify the protec-

tions of EO 2 because the General Assembly and Governor determined that its measures were

urgently needed to confront the ongoing COVID-19 health emergency. The Commonwealth and

its elected representatives have an ongoing duty to navigate the evolving public health emer-

gency, and an injunction would interfere with their ability to weigh the evidence and determine

how best to serve the interests of Virginia students, teachers, and parents amidst the changing

conditions of the pandemic.

       An injunction also would not serve the public interest given that student mask mandates

are no longer generally recommended by the CDC, and are detrimental to many children’s aca-

demic, social, and emotional development, and to their mental health. See supra Background

Part III. And while Plaintiffs contend that universal mask mandates are necessary due to their

disabilities, such mandates harm other children, including other children whose disabilities make

it difficult for them to breathe, see, or communicate while wearing masks. See supra Background

Part II; Greene Aff. ¶ 14; Exs. 14, 27–34. For these reasons, parents should be able to decide

whether their children should continue to wear masks at school, and children should not be pun-

ished or removed from their classrooms on the basis of those choices. Enjoining EO 2 and S.B.

739 would therefore harm the public interest.

       Finally, even if this Court were to conclude that any injunction is warranted, the injunc-

tion requested by Plaintiffs is vastly overbroad. “It is well established that ‘injunctive relief




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should be no more burdensome to the defendant than necessary to provide complete relief to the

plaintiffs.’” Kentuckians for Commonwealth, Inc. v. Rivenburgh, 317 F.3d 425, 436 (4th Cir.

2003) (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979)). Plaintiffs here apparently re-

quest a statewide injunction against EO 2 and S.B. 739 in all public schools. See, e.g., FAC

¶ 224. But Plaintiffs have no cognizable interest in enjoining these provisions in schools that they

do not attend, much less in school divisions where they do not live. A statewide injunction would

therefore be far broader “than necessary to provide complete relief to the plaintiffs.” Rivenburgh,

317 F.3d at 436 (quoting Yamasaki, 442 U.S. at 702); see also E.T., 19 F.4th at 769 (holding that

a “blanket injunction prohibiting the enforcement of GA-38 in all public schools across the State

of Texas” was overbroad).

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a temporary restraining order and prelim-

inary injunction should be denied, and Defendants’ motion to dismiss should be granted.

February 28, 2022                                    Respectfully submitted,

                                              By:    /s/ Andrew N. Ferguson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of February, 2022, I electronically filed the foregoing

Defendants’ Response in Opposition to Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction with the Clerk of the Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all CM/ECF participants.



                                             /s/ Andrew N. Ferguson
                                             Andrew N. Ferguson (#86583)
                                               Solicitor General




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